      Case 1:23-cv-00480-JJM-LDA                  Document 41-1           Filed 06/24/24        Page 1 of 1 PageID #:
                                                          318

Meghan Kenny

From:                     Joshua Mello <kskustomsrideons@gmail.com>
Sent:                     Monday, June 24, 2024 8:30 AM
To:                       RID_ECF_INTAKE
Subject:                  motion to submit for C.A. No. 1:23-cv-000479-JJM-LDA; 1:23- cv-000480-JJM-LDA
Attachments:              reponse to objection for protective order.pdf

Categories:               Being Worked On MK



CAUTION - EXTERNAL:


To whom it may concern,

I have attached a motion to be submitted for C.A. No. 1:23-cv-000479-JJM-LDA; 1:23- cv-000480-JJM-LDA. Thank you for
your time and if possible could you shoot a response that this was received? Thank you again.


Be Well,
Rachel Ware


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K's Kustom's Ride On's & Rentals
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